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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION


UNITED STATES OF AMERICA                       §
                                               §
V.                                             §            NO. 9:13-CR-24 (3)
                                               §
RANDALL GREGG DIXON                            §


                      REPORT AND RECOMMENDATION ON
                THE DEFENDANT’S COMPETENCY TO STAND TRIAL

       Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the United States District Court

for the Eastern District of Texas, this criminal proceeding is before the undersigned United

States magistrate judge.

       On December 6, 2013, the court ordered a psychiatric or psychological exam to

determine if the Defendant was suffering from a mental disease or defect rendering him mentally

incompetent to the extent he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense. (Docket No. 55.) The Defendant

subsequently received an evaluation by Lisa Bellah, Ph.D., a Licensed Psychologist.

       The psychiatric report concludes that, in the opinion of Dr. Bellah, “the defendant did not

appear to suffer from a mental disease or defect rendering him unable to understand the nature

and consequences of the proceedings against him or to properly assist in his defense.”

       A competency hearing was conducted on March 14, 2014. At the hearing, the Defendant

appeared in court with counsel. Counsel for the Defendant did not present any objections to Dr.

Bellah’s opinion on his competency. Neither party objected to the admissibility of the

psychological report detailing the results and findings, therefore, the court admitted it into

evidence under seal. Furthermore, both the Defendant and the Government agreed that the
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Defendant is competent to stand trial.

       The undersigned therefore concludes that the Defendant is able to understand the nature

and consequences of the proceedings against him and to assist properly in his defense. The

Defendant has a rational and factual understanding of the proceeding against him, and has

sufficient present ability to consult with his attorney with a reasonable degree of rational

understanding. 18 U.S.C. § 4241(d); see also Dusky v. United States, 362 U.S. 402, 80 S. Ct.

788, 4 L. Ed. 2d 824 (1960).

                                    RECOMMENDATION

       The court should find the Defendant competent to stand trial because he understands the

nature and consequences of the proceeding against him and is able to assist in his defense. See

18 U.S.C. § 4241. It is further recommended that the speedy trial time be excluded from

December 6, 2013, until the date on which the District Judge signs the order adopting this report

and recommendation.

                                         OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file

objections to this report and recommendation. Objections to this report must: (1) be in writing,

(2) specifically identify those findings or recommendations to which the party objects, and (3) be

served and filed within fourteen (14) days after being served with a copy of this report. See 28

U.S.C. § 636(b)(1)(c); Fed R. Civ. P. 72(b)(2). A party who objects to this report is entitled to a

de novo determination by the United States District Judge of those proposed findings and

recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1); Fed

R. Civ. P. 72(b)(3).



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       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a

copy of this report, bars that party from: (1) entitlement to de novo review by the United States

District Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d

275, 276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any

such findings of fact and conclusions of law accepted by the United States District Judge, see

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).


     SIGNED this 19th day of March, 2014.




                                                   _________________________
                                                   Zack Hawthorn
                                                   United States Magistrate Judge




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